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Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 4 of 29 PAGEID #: 4
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 5 of 29 PAGEID #: 5
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 6 of 29 PAGEID #: 6
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 7 of 29 PAGEID #: 7
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 8 of 29 PAGEID #: 8
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 9 of 29 PAGEID #: 9
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 10 of 29 PAGEID #: 10
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 11 of 29 PAGEID #: 11
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 12 of 29 PAGEID #: 12
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 13 of 29 PAGEID #: 13
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Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 21 of 29 PAGEID #: 21
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 22 of 29 PAGEID #: 22
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 23 of 29 PAGEID #: 23
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 24 of 29 PAGEID #: 24
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 25 of 29 PAGEID #: 25
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 26 of 29 PAGEID #: 26
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 27 of 29 PAGEID #: 27
Case: 3:21-mj-00306-PBS Doc #: 1 Filed: 08/12/21 Page: 28 of 29 PAGEID #: 28
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